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              IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA               )
                                       )
      v.                               ) 2:11-CR-69-NR
                                       )
RICHARD HAYES,                         )
                                       )
                                       )
             Defendant.                )
                          MEMORANDUM ORDER
      Richard Hayes has served almost ten years in prison on drug charges.
With a little over two years remaining on his sentence, Mr. Hayes now moves
for compassionate release under 18 U.S.C. § 3582(c)(1)(A)(i), citing his
heightened risk of illness or death due to COVID-19. After carefully reviewing
the parties’ submissions, the sentencing transcript, the PSR, and the other
materials in the record, the Court will GRANT the motion.
      At the outset, Mr. Hayes has exhausted his administrative remedies by
asking the warden for his release and then waiting 30 days before filing his
present motion in court. See United States v. Harris, 973 F.3d 170, 171 (3d
Cir. 2020). Mr. Hayes has also demonstrated extraordinary and compelling
reasons for his release. Specifically, he suffers from ailments such as
uncontrolled type-2 diabetes (with recent A1C levels at 13.8%), obesity (BMI of
39), and asthma, which place him at a higher risk of suffering serious health
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effects from COVID-19. 1 [ECF 93, pp. 5-10]. Further, he is housed in a facility
that is presently experiencing a severe COVID-19 outbreak. 2
      Indeed, the government largely concedes this. [ECF 97, pp. 5, 13]. That
is, the government agrees that Mr. Hayes has exhausted his remedies by
waiting the requisite 30 days. The government also agrees that Mr. Hayes has
established extraordinary and compelling reasons for release based on his
serious medical conditions. The government, however, opposes compassionate
release, arguing that release here would conflict with the Section 3553(a)
factors. [Id. at pp. 13-16]. The Court disagrees.


1 Mr. Hayes also recently contracted COVID-19. [ECF 97, p. 1]. In some
circumstances, a prior diagnosis of COVID-19 might suggest the absence of
extraordinary and compelling reasons for release. See United States v. Patton,
No. 2:19-cr-8, Doc. No. 2293, Memorandum Order (W.D. Pa. Aug. 21, 2020)
(Ranjan, J.). But not here. Unlike in Patton, for example, where the defendant
was asymptomatic and housed in a detention facility with relatively few
COVID-19 cases, Mr. Hayes’s counsel has represented that Mr. Hayes has
suffered, and continues to suffer, from a host of lingering ailments due to his
COVID-19 infection. [ECF 101, p. 3]. And further, he otherwise is in poor
health and remains in a facility with many cases. See generally [ECF 93].
When a prisoner contracts COVID-19, and can point to specific post-illness
medical conditions or effects from the virus, as well as a non-speculative risk
of re-exposure, an extraordinary and compelling reason for release exists.

2 Mr. Hayes is housed at FCI-Big Spring, which at the time Mr. Hayes filed his
motion, had the highest number of positive COVID-19 cases out of all BOP
facilities in the country. [ECF 93, p. 13]. The outbreak at FCI-Big Spring
remains disproportionately high today. See https://www.bop.gov/coronavirus/
(last visited Nov. 5, 2020). Indeed, Mr. Hayes’s counsel represent that 604 of
the 929 inmates have contracted COVID-19 there. [ECF 101, p. 2]. This
supports a finding of extraordinary and compelling reasons warranting
release. See United States v. Somerville, 463 F. Supp. 3d 585 (W.D. Pa. 2020)
(Ranjan, J.) (finding that the defendant must show not only a serious medical
condition, but also “an actual, non-speculative risk of exposure to COVID-19 in
the facility where the prisoner is held”).

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      Conceptually, the best way of applying the Section 3553(a) factors in the
context of a compassionate-release motion is to determine whether the
sentence served by the defendant, to date, is sufficient but not greater than
necessary to accomplish the sentencing goals. See, e.g., 18 U.S.C. § 3553(a)
(“The court shall impose a sentence sufficient, but not greater than
necessary[.]”); United States v. Walls, No. 2:16-cr-249, 2020 WL 6390597, at
*13 (W.D. Pa. Nov. 2, 2020) (Hornak, C.J.) (analyzing the Section 3553(a)
factors to determine “whether the period that Mr. Walls has already spent in
custody has fulfilled the original purposes of sentencing such that any
additional time in custody would now be ‘greater than necessary’ to fulfill the
purposes of sentencing in the context of the overall picture that the record
presents”).
      Here, Mr. Hayes has served approximately 9 years and 8 months in
prison, and releasing him now would eliminate the remaining 2 years and 4
months of his sentence. E.g., [ECF 93, p. 2]. Weighing the applicable Section
3553(a) factors in a holistic manner, the Court finds that an “effective”
sentence of 9 years and 8 months is sufficient, but not greater than necessary,
to further the important statutory goals of sentencing.
      Mr. Hayes has a troubled background. His father was largely absent
during his adolescent life, his mother was a drug addict (that eventually
overdosed) who left Mr. Hayes to fend for himself as an adolescent, and he lived
through periods of homelessness when he frequently slept in cardboard boxes.
[ECF 72]; [ECF 89, pp. 16-17]. And surrounded by drugs as a child, he became
a regular drug user at age 13. [ECF 72]. In the early 2000s, as a young man
(between the ages of 20 and 23), Mr. Hayes committed four drug offenses,
though none involved acts of violence or possession of firearms. [Id.]. And
those offenses involved small quantities of drugs and money—all committed to
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feed Mr. Hayes’s drug addiction and to provide him money to survive. E.g.,
[ECF 89, pp. 13, 17].
      Many years passed between those earlier drug offenses and the federal
drug offense for which he is now sentenced and incarcerated. Concerning the
latter, in 2013, Mr. Hayes pled guilty to possessing with the intent to distribute
a large quantity of cocaine (4 kilograms). [ECF 70]; [ECF 97, p. 2]. This crime
is obviously serious. But by virtue of his prior drug offenses committed 7-10
years before, Mr. Hayes was considered a career offender, which increased his
guidelines range and the “starting point” for sentencing. [ECF 89, pp. 25, 28].
      Like his prior offenses, the instant offense didn’t involve any weapons or
acts of violence, and appeared to be a lapse in judgment (albeit, a serious one).
Since then, Mr. Hayes has made extensive efforts to rehabilitate himself by
participating in BOP programming, including courses in health, business, and
philosophy. [ECF 93, pp. 17-18; ECF 93-6]. He has taken numerous courses
to aid his personal development and rehabilitation such as Decision Making,
From Prison to Paycheck, Parenting, and Basic Life Skills. [Id.]. Additionally,
he has completed courses to better himself professionally such as Welding,
Informational Job Fair, and Entrepreneur 101. [Id.]. He also completed the
Commercial Driver’s License course and hopes to use the knowledge learned
to obtain his CDL upon release. [Id.]. 3


3 The government points out that Mr. Hayes was disciplined twice in 2017 for
prison infractions. [ECF 97, p. 15]; [ECF 97-4]; [ECF 97-5]. One was for
possessing a cell phone in a landscaping shed, which the Court doesn’t find to
tip the balance. The other incident was for standing watch in front of a cell
while one inmate assaulted another inmate. Though the Court has concerns
regarding this incident, the supporting documents do not shed sufficient light
on Mr. Hayes’s participation or the assault itself. It also appears from the
documents that Mr. Hayes claimed he “didn’t know what was happening.”
[ECF 97-5, p. 9]. All told, after considering these two infractions (committed
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      In short, weighing the applicable 3553(a) factors here, on one side of the
balance is the serious offense involving a large quantity of drugs for which Mr.
Hayes has served about ten years in prison (and faces five years of supervised
release after imprisonment, [ECF 81]). On the other side of the balance is a
host of mitigating factors that revolve around Mr. Hayes’s troubled childhood
and addiction issues, and his seeming rehabilitation over the past 9 years.
      Considering all of this within the framework of 18 U.S.C. § 3553(a), the
Court finds that a 9-year and 8-month sentence—i.e., time served—is sufficient
but not greater than necessary to further the goals of sentencing. Immediate
compassionate release is fully consistent with the Section 3553(a) factors.
      For these reasons, Mr. Hayes’s motion is granted. The Court will convert
the remainder of Mr. Hayes’s sentence to a sentence of time served, with the
originally imposed term of supervised release to commence immediately. The
Court will, however, also impose one additional condition. Because of Mr.
Hayes’s    prior   substance-abuse    issues,   lengthy   prison   sentence,   and
background, the Court will require that the first four months of Mr. Hayes’s
supervised-release term be served in a residential reentry center or equivalent
facility selected at the discretion of the Probation Officer.




over three years ago), the Court does not find that they indicate a lack of
rehabilitation or any recidivist tendencies, at least to the extent they do not
materially alter the Court’s application of the Section 3553(a) factors here.
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                                   ORDER

      AND NOW, this 5th day of November, 2020, upon consideration of
Mr. Hayes’s motion for compassionate release [ECF 93], it is HEREBY
ORDERED that the motion is GRANTED as follows:

1.    Mr. Hayes’s remaining prison sentence is converted to a sentence of time
served, to be followed by the originally-imposed term of supervised release,
except that, as set forth below, Mr. Hayes shall remain in custody until (1) he
has completed a 14-day quarantine period; and (2) the Probation Office has
finalized arrangements for placement in a residential reentry center.

2.    In anticipation of his release, the Court ORDERS that the government,
the Bureau of Prisons, and the Probation Office take all steps necessary to
immediately place Mr. Hayes in quarantine at his current facility, or any other
appropriate location selected by the BOP, for a period of 14 days. During the
quarantine period, the BOP may conduct any necessary medical clearance and
fulfill any obligations under relevant statutes.

3.    Upon release, Mr. Hayes shall commence his term of supervised release.
Mr. Hayes shall be subject to the same supervised-release conditions imposed
at sentencing, except that those conditions shall be modified to add the special
condition that Mr. Hayes be immediately placed in a residential reentry center
to begin his supervised release term, for a period of 120 days, as directed by
the Probation Office. Mr. Hayes shall observe the rules, regulations, and
directives of the designated community corrections facility. A subsistence fee
waiver is requested as the modification is for housing purposes only. Mr.
Hayes shall remain in custody until the Probation Office can finalize
arrangements for placement at the residential reentry center. Upon securing


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an approved residence, the Probation Office will release Mr. Hayes to the
program.

4.    The Court ORDERS the Probation Office to begin the process of placing
Mr. Hayes in an appropriate residential reentry facility immediately, and to
advise the parties and the Court if placement is expected to significantly delay
Mr. Hayes’s release.



                                    BY THE COURT:

                                    /s/ J. Nicholas Ranjan
                                    United States District Judge




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